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 1                     UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF DELAWARE
 2

 3   IN RE:                  .    Chapter 11
                             .    Case No. 23-10831(MFW)
 4   LORDSTOWN MOTORS CORP., .
     et al.,                 .    (Jointly Administered)
 5                           .
                             .    824 Market Street
 6            Debtors.       .    Wilmington, Delaware 19801
                             .
 7                           .    Tuesday, November 21, 2023
     . . . . . . . . . . . . .    11:30 a.m.
 8
                         TRANSCRIPT OF ZOOM HEARING
 9                  BEFORE THE HONORABLE MARY F. WALRATH
                       UNITED STATES BANKRUPTCY JUDGE
10
     APPEARANCES:
11
     For the Debtors:           Morgan L. Patterson, Esquire
12                              WOMBLE BOND DICKINSON (US) LLP
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13                              Suite 1200
                                Wilmington, Delaware 19801
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 2   MOTIONS:                                                        PAGE

 3   Agenda
     Item 2:    Debtors' Motion for Entry of an Order (I)                3
 4              Approving (A) Procedures for the Sale or Other
                Disposition of Miscellaneous Assets and (B) the
 5              Sale or Other Disposition of Miscellaneous
                Assets Free and Clear of Liens, Claims,
 6              Interests, and Encumbrances in Accordance with
                Such Procedures, and (III) Granting Related
 7              Relief [Docket No. 650 – filed October 31, 2023]

 8         Court's Ruling                                                5

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11   Transcription's certificate                                         7

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 1         (Proceedings commenced at 11:30 a.m.)

 2              THE COURT:    Good morning.      This is Judge Walrath.

 3   We're here in the Lordstown Motors case.          I will turn it over

 4   to counsel for the debtor to get us started.

 5              MS. PATTERSON:    Thank you very much, Your Honor.

 6   Good morning, Morgan Patterson of Womble Bond Dickinson on

 7   behalf of the debtor.    Can you hear me all right, Your Honor?

 8              THE COURT:    I can.

 9              MS. PATTERSON:    Okay, great.         We appreciate your

10   time this morning, Your Honor.      We're working off of the

11   second amended agenda filed yesterday at Docket 718.            We have

12   just one matter that remains on for today and that is Agenda

13   Item Number 2, our miscellaneous asset sale motion.

14              If it's okay with Your Honor, I'll just jump right

15   into that motion?

16              THE COURT:    Okay.

17              MS. PATTERSON:    By this motion, Your Honor, the

18   debtors seek to streamline the process by which we can

19   liquidate the remaining assets in the asset.           We also hope to

20   use this motion to reduce the cost to the estate for

21   liquidating those remaining assets.

22              As set forth in the motion, Your Honor, the assets

23   include several vehicles, trailers, as well as office

24   furniture, laptops, computer equipment, and the like.            These

25   assets remained in the estate after the sale that Your Honor
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 1   approved last month to LandX.      That included a majority of

 2   the assets, so this is just the remainder that we're seeking

 3   to liquidate.

 4              The debtors worked with the equity and the

 5   creditors committee to propose the value buckets and the sale

 6   process that you see in the motion, that includes that the

 7   debtors will consult with both committees for any sale under

 8   350,000, but without further notice or hearing, and we will

 9   file and serve a sale notice for asset sales between 350 to

10   500,000, and anything over 500,000 the debtors will continue

11   to file a customary sale motion.

12              We received no formal objections to the motion,

13   but we did receive some informal comments from the U.S.

14   Trustee, the SEC, and also the Ohio plaintiffs.            Each of

15   those was resolved, Your Honor, in the revised order that we

16   filed under certification of counsel.

17              The U.S. Trustee just asked, Your Honor, that we

18   add email addresses to the sale notice, which we did, and the

19   SEC and the Ohio plaintiffs asked that we add language

20   regarding records retention, and you'll see that in new

21   paragraph 14 of the revised order.

22              Your Honor, the debtors believed that we already

23   had an obligation to do that under the original sale order,

24   but we were, you know, certainly happy to add that language

25   in here as well.
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 1               So Your Honor's chambers indicated that you had

 2   some questions on the motion, so I'm certainly happy to

 3   address those.

 4               THE COURT:   Yes, my practice is that -- or my

 5   belief is that you need an order for any sale of property

 6   outside of the ordinary course of business under 363,

 7   especially free and clear of any liens and interests.           So I

 8   think you need to give notice and file a certification of

 9   counsel or CNO if you seek to sell assets even under 350,000.

10               So, if you just expand the requirements for that

11   middle bucket to include from dollar one, I would approve it.

12               MS. PATTERSON:   Okay.     Thank you very much, Your

13   Honor.   And you would -- just to clarify, you would also like

14   us to have an order that would be attached to that COC, a

15   form order as well?

16               THE COURT:   Exactly, yes.

17               MS. PATTERSON:   Absolutely, okay.         That's no

18   problem, Your Honor, we're happy to do that.           I will make

19   those changes and submit it under COC, if that's okay.

20               THE COURT:   That's fine, and I'll enter the order

21   once the changes are made.

22               MS. PATTERSON:   Great.     Thank you so much, Your

23   Honor.   That's all we have for today.

24               THE COURT:   All right.     Thank you, Ms. Patterson.

25   We can stand adjourned then.
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 1              MS. PATTERSON:    Thank you.       Have a good

 2   Thanksgiving.

 3              THE COURT:    You too.

 4         (Proceedings concluded at 11:34 a.m.)

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 1                              CERTIFICATION

 2              I certify that the foregoing is a correct

 3   transcript from the electronic sound recording of the

 4   proceedings in the above-entitled matter to the best of my

 5   knowledge and ability.

 6

 7

 8   /s/ Tracey J. Williams                            November 28, 2023

 9   Tracey J. Williams, CET-914

10   Certified Court Transcriptionist

11   For Reliable

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